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                     IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH CAROLINA

                                BEAUFORT DIVISION


Cheryl A. Munday and Margaret Devine,          ) C.A. # 9:20-cv-02144-DCN-MHC
on behalf of themselves and others             )
similarly situated,                            )
                                               )
             Plaintiffs,                       ) 2ND AMENDED SCHEDULING
                                               )              ORDER
-vs-                                           )
                                               )
Beaufort County, Philip Foot, Quandara         )
Grant, John Does 1-5 and Jane Does 1-5,        )
                                               )
          Defendants.                          )
__________________________________             )

       Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of
this Court, the following schedule is established for this case. This order is entered
to administer the trial of cases in a manner consistent with the ends of justice, in the
shortest possible time, and at the least possible cost to litigants. Discovery may
begin upon receipt of this order.

          1. Expert Witnesses: Parties shall file and serve a document identifying
             by full name, address, and telephone number each person whom they
             expect to call as an expert at trial by the following dates:

                  Plaintiff:       May 26, 2021
                  Defendant:       June 16, 2021

          2. Counsel shall file and serve affidavits of records custodian witnesses
             proposed to be presented by affidavit at trial no later than June 16,
             2021. Objections to such affidavits must be made within fourteen (14)
             days after the service of the disclosure. (See Fed.R.Evid. 803(6),
             902(11), or 902(12) and Local Civil Rule 16.02(D)(3)).

          3. Discovery: Discovery shall be completed no later than August 27,
             2021. All discovery requests shall be served in time for the responses
             thereto to be served by this deadline. All depositions must be taken
             before this deadline.




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         4. Dispositive Motions: All dispositive motions and all Daubert motions
            shall be filed on or before August 27, 2021.

         5. Mediation: Pursuant to Local Civil Rule 16.04-16.12, mediation shall be
            completed in this case on or before September 30, 2021. Thirty (30)
            days prior to this, counsel for each party shall file and serve an ADR
            Statement and Certification under Local Civil Rule 16.03.


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                                Molly
                                Mol       Cherry
                                   lly H. Cherr
                                              ry
                                               Magistrate
                                United States Ma
                                               M  gistrate Judge




February 18, 2021


WE CONSENT

HOWELL, GIBSON & HUGHES, P.A.


By: s/Mary Bass Lohr
Mary Bass Lohr
ATTORNEY FOR DEFENDANTS



PETERS, MURDAUGH, PARKER, ELTZROTH, & DETRICK, P.A.


By: s/Bert G. Utsey
Bert G. Utsey
ATTORNEY FOR PLAINTIFF




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